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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS

JOANNA PEARSON,                                   §
                                                  §
        Plaintiff                                 §
                                                  §
vs.                                               §          NO. 4:18-CV-00627-ALM
                                                  §
JPMORGAN CHASE BANK, N.A., ET                     §
AL.,                                              §
                                                  §
        Defendants.
                                                  §
                                                  §

                                              ORDER

        Upon Defendant Freedom Mortgage Corporation’s Motion to Transfer Venue to the

Northern District of Georgia [Dkt. No. 17 ] and this Court being otherwise sufficiently advised,

IT IS ORDERED:

        1)       that Defendant Freedom Mortgage Corporation’s Motion to Transfer Venue to the

Northern District of Georgia [Dkt. No. 17 ] is GRANTED; and

        2)       this the above-styled action is TRANSFERRED to the United States District

Court for the Northern District of Georgia at Atlanta in its entirety.




ORDER                                                                                  PAGE 1
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